Case 2:17-cV-O4678-AB Document 1 Filed 10/19/17 Page 1 of 12

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CIVIL COVER SHEET

Tlie ._lS 44 civil cover sheet and the information contained herein _n§tilhcr replace nor supplement the filing and service of pleadings or other papers as required by la\\" `cxccpl as
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Case 2:17-cV-O4678-AB Document 1 Filed 10/19/17 Page 2 of 12

IN THE UNITED STATES DISTRIC'I` COUR'I`
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

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ln accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendantsl (See § 1:03 of the plan set forth on the reverse
side of this forrn.) ln the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve On
the plaintiff and all other parties, a Case Management Track Designation Forrn specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) I-Iabeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management _ Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by

the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management ~ Cases that do not fall into any one of the other tracks. ( L/)/

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Date Attorney-at-law Attorney for
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Case 2:17-cV-O4678-AB Document 1 Filed 10/19/17 Page 3 of 12
UNITED STATES DISTRICT COURT

FOR TI-IE EASTERN DISTRIC'I` OF PENNSYLVANIA _ DESIGNATIO-.\` F() RM to he used by counsel to indicate the category of the case for the purpose ol`
assignment to appropriate calendar.

AddressofPlaintiff: lizg§ L/`,&lDt’\/l`i',L/l Gl~\/K: lQ/C$lL/jv'\ pA lol 001
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Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning ]0% or more ot` its stock?

 

(Attach two copies ofthe Disc]ostlre Statcmcnf Form in accordance with Fed.R.Civ.P. 7.1(a)) Yesl:l No
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Civil cases are deemed related when yes is answered to any of the following questions:

l. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action iri this court'?
Yesl:l Nom/

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action in this court2

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Yes[l Nol:l/
3. Does this case involve the validity or infringement of`a patent already in suit or any earlier numbered case pending or within Onc year previously

terminated action in this cotirt? Y¢sl:l Nol:l/

4. ls this case a second or successive habeas corpus. social security appeal. or pro se civil rights case filed by the same individual?

 

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%mey-at-Law l Auorncy I.D.#
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I certify that, to m_v knowledgc, the within case is not related to any ease nonl pending or within one year previously terminated action in this court
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Case 2:17-cV-O4678-AB Document 1 Filed 10/19/17 Page 4 of 12

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

MEREDITH GILL :
1235 Colonial Avenue : JURY DEMANDED
Roslyn, PA 19001 '

Plaintiff,
v.

ABINGTON MEMORIAL HOSPITAL
1200 Old York Road

Abington, PA 19001

And

ABINGTON HEALTH_ARIA HEALTH
SYSTEM
1200 OId York Road

Abington, PA 19001

And

ABINGTON HEALTH_ARlA HEALTH
SYSTEM

225 Newtown Road

Warminster, PA 18974

Dei`endants

 

CIVIL ACTI()N COMPLAINT

I. Parties and Reasons for Jurisdiction.

l. Plaintiff, MEREDITH GILL (hereinafter “MS. Gili”) is an adult individual
residing at the above address
2. Defenclant, ABINGTON MEMORIAL HOSPITAL is a non-promit corporation

organized by and operating under the laws of the Comrnonweaith of Pennsylvania and having a

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principal place of business at the above captioned address Defendant is a hospital and medical
care providcr.

3. Defendant, ABINGTON HEALTH_ARIA I-IEALTH SYSTEM is a business
corporation organized by and operating under the laws of the Commonwealth of Pennsylvania
and having a principal place of business at the above captioned address(es). Defendant
ABINGTON HEALTl-I_ARIA HEALTH SYSTEM, owns, operatcs, manages, or is otherwise
affiliated with ABINGTON MEMORIAL HOPITAL.

4. At all times material hereto, Defendants are private entities that owns, leases,
manages and/or operates a place of public accommodation, as that term is defined by the
Americans with Disabilities Act.

5. The aforementioned Defendants Were acting together, in concert and for the
benefit of each other at the time of the incident giving rise to the Plaintifi"s civil action
compiaint.

6. This action is instituted pursuant to the Americans with Disabilities Act and the
Pennsyivania Human Relations Act.

7. .lurisdiction is conferred by 28 U.S.C. §§ 1331 and 1343.

8. Supplemental jurisdiction over the Plaintiff’s state law claim is conferred pursuant
to 28 U.S.C. § 1367.

9. Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this
district because Defendants conduct business in this district, and because a substantial pan of the
acts and/or omissions giving rise to the claims set forth herein occurred in this judicial district
Plaintiff was at the Defendants’ location at the time in the Eastern District of Pennsylvania at the

time of Defenclants’ conduct, as set forth herein.

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II. Operative Facts.

10. On or about May 6, 2017, Plaintiff’s mother, Mary Gill, was admitted to
Defendants’ Behavioral Health Unit at the Abington Memorial Hospital.

11. Mary Gill was hospitalized by Defendant after sustaining a mental breakdown
leading to a suicide attempt.

12. On May 11, 2017, Plaintiff, Meredith Gill participated in a conference call with
her mother (Mary), other family members and a social worker employed by Defendants.

13. At that time, on May llth, Mary Gill was still hospitalized at Abington Memorial
Hospital by the Defendants.

14. During the May 11, 2017 conference call, Mai'y agreed that it was time for her to
have visitors for the first time following her suicide attempt and hospitalization and asked her
daughter, the Plaintiff, to come visit.

15. Plaintiff, Meredith Gill is quadriplegic and uses a motorized powered wheelchair
to move following a serious car accident she sustained some years ago.

16. Plaintiff also has a trained service dog named “Tom.”

17. Tom assists Plaintiff in many of her day to day tasks, such, as opening and closing
doors and cabinets, retrieving items and tools for Plaintiff to use and also provides emotional
Support and freedom from anxiety.

18. Mary Gill informed Defendants’ social worker and other staff of Plaintiff’s need
to bring Tom along as an accommodation for her aforementioned disabilities

19. Mary Gill explained to Defendants’ social worker that Tom is pennitted to enter

Defendants" hospital subject to the strictures of the ADA.

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20. At the time of the phone ca11J Defendants’ social worker, assigned to care for
Mary Gill informed Mary that Tom was probably not allowed to enter the Behavioral Health
Unit and advised that if Plaintiff wanted to visit her mother, Plaintiff was prohibited from
bringing Tom along.

21. However, Defendants’ social worker advised that she would in fact, check the
Defendants’ policy on service dogs to verify her belief.

22. On May 11, 2017, Defendants’ social worker informed Mary that Tom is
permitted, subject to the ADA and Abington Hospital’s own policy on service dogs to enter the
hospital and assist the Plaintiff, consistent with his training

23. On May 12, 2017, Meredith arrived with her brother and her service dog, Tom.

24. Immediately upon entering Defendants’ Behavioral Health Unit, Defendants’ staff
members escorted the family and Tom to an isolation room, instead of the family visiting room
in the Behavioral Health Unit.

25. Defendants’ staff insisted that the family was required to remain in the isolation
room due to Tom’s presence.

26. Defendants’ staff also insisted that several nurses stay with the family in the
isolation room because admitted behavioral health patients were prohibited from meeting in
complete privacy with their families or visitors.

27. The cramped nature of the isolation room and the presence of Defendants’ nurses
created a problematic awkward setting under the circumstances

28. Plaintiff calmly and reasonably explained that the isolation requirement was an

unfair restriction and violated the Americans with Disabilities Act.

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29. Immediately, Defendants’ charge nurse advised Plaintiff that she had two (2)
choices, as follows: 1) stay in the isolation room while she meets with her mother for the first
time following her mental breakdown and suicide attempt with nurses present; or2) leave
Defendants’ hospital with Tom.

30. Given the unfair and illegal restriction foisted upon her by Defendants’ staff,
Plaintiff chose to leave, after once again, calmly explaining that Defendants’ conduct was
violative of the Americans with Disabilities Act.

31. Two days later on Mother’s Day, 2017, Plaintiff, to her great detriment, returned
to Abington Hospital without her service dog, Tom to avoid further violation of her civil rights.
32. Plaintiff also needed to see and speak with her mother after the traumatic
experience and could not afford to wait for Defendants to comply with the Americans with

Disabilities Act.

33. On l\/Iothers’ Day, 2017, without Tom accompanying her, Plaintiff was permitted
in the family area to meet with her mother.

34. By refusing Ms. Gill access to the Behavioral Health Unit with Toni, Defendants
violated the Americans with Disabilities Act and the Pennsylvania Human Relations Act.

35. Defendants failed to reasonably accommodate Plaintiff by the denial of access
due to her service dog.

36. Upon information and belief, Defendants’ conduct not only violated the
Americans with Disabilities Act and the Pennsylvania Hurnan Relations Act, but also, Abington

l\/lemorial Hospital’s own policies with respect to service animals within the confines of the

property.

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37. As a direct and proximate result of Defendants’ conduct in refusing Plaintiff
access to the hospital, Plaintiff sustained extreme emotional distress, humiliation, pain and
suffering, economic loss, and other damages as set forth below.

III. Causes of Action.

COUNT I
VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
(42 U.S.C.A. §§ 12101, et seq)

38. Plaintiff incorporates paragraphs 1-37 as if fully set forth at length herein.

39. At set forth above, Plaintiff is disabled as contemplated by the Americans with
Disabilities Act.

40 At all times material hereto, Defendants are owning, leasing, managing or
operating a public accommodation as defined in the Americans with Disabilities Act.

41. As set forth above, Defendants interfered and wrongfully denied the Palintiff the
full and equal enjoyment of the goods, services, facilities, privileges, advantages and
accommodations of Defendants’ premises, in violation of Title lIl, § 302 of the Americans with
Disabilities Act, 42 U.S.C. § 12182, and pursuant to federal regulations including but not limited
to 28 CFR 36.104 and 36.301.

42. Pursuant to the Americans with Disabilities Act of 1990, Plaintiff is entitled to the
remedies and procedures set forth in §204(a) of the Civil Rights Act of 1964 (42 U.S.C. §
2000(a) -3 (a)) as Plaintiff is being subjected to discrimination on the basis of her disability in
violation of this title.

43. Given the proximity of Plaintiff’ s home to Abington Hospital, Plaintiff reasonably
expects that she and Torn will be expected, in the future, to use the services and facilities of

Abington Hospital.

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44. Plaintiff seeks a specific prohibition against Defendant maintaining and enforcing
their discriminatory policy towards disabled persons who are accompanied by service dogs, as
described above.

45. Plaintiff has reasonable grounds to expect she will be subjected to such
discrimination each time that she may attempt to patronize Defendants’ hospital.

46. Plaintiff intends to return to this public accommodation but may not be able to do
so until Defendants cease their discriminatory practices

47. As a proximate result of Defendants’ conduct, Plaintiff sustained significant
damages including but not limited to: great economic loss, emotional distress mental anguish,
humiliation, pain and suffering, consequential damages

48. As a result of the conduct of Defendants’ owners/management, Plaintiff hereby
demands punitive damages

49. Pursuant to 42 U.S.C. §2000e-3(a), et seq Plaintiff demands attorneys fees and
court costs

COUNT II
PENNSYLVANIA HUMAN RELATIONS AC'I`
43 Pa.C.S.A. §951, et seq.

50. Plaintiff incorporates paragraphs 1-49 as if fully set forth at length herein.

51. As set forth above, Plaintiff has a disability and as such, is a member of a
protected class

52. As described above, Defendants denied Plaintiff full and equal enjoyment of the
goods, services, facilities, privileges advantages and accommodations of Defendants’ prernises,

in violation of the Pennsylvania I-luman Relations Act.

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53. As such, Defendants have violated the Pennsylvania Human Relations Act, 43
Pa.C.S.A. §951, et seq.

54. As a proximate result of Defendants’ conduct, Plaintiff sustained significant
damages including but not limited to: economic loss, emotional distress, mental anguish,
humiliation, pain and suffering, consequential damages and Plaintiff has also sustained work
loss, loss of opportunity, and a permanent diminution of earning power and capacity and a claim
is made therefore

55. Plaintiff demands attorneys’ fees and court costs

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IV. Relief Requested.

WHEREFORE, Plaintiff, Meredith Gill demands judgment in her favor and against
Defendants, Abington Memorial Hospital, and Abington Health--Aria Health System jointly and
severally, in an amount in excess of 3150,000.00 together with:

A. Compensatory damages including but not limited to, injury to reputation, mental and

emotional distress, pain and suffering

B. Punitive damages;

C. Attorneys fees and costs of suit;

D. Injunctive relief;

E. Interest, delay damages; and,

F. Any other further relief this Court deems just proper and equitable.

LAW OFFICES OF ERIC A. SHORE, P.C.

GR`ATJAM F. BAIRD, ESQUIRE
Two Penn Center

1500 JFK Boulevard, Suite 1240
Philadelphia, PA 19110

Attorney for Plaintiff, Meredith Gill
Date: October 18. 2017

